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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


JOHNSON & JOHNSON HEALTH CARE
SYSTEMS INC.,

       Plaintiff,

       v.

ROBERT F. KENNEDY, JR., in his official capacity,
and U.S. DEPARTMENT OF HEALTH AND
                                                                 Case No. 1:24-cv-3188-RC
HUMAN SERVICES,

and

THOMAS J. ENGELS, in his official capacity, and
HEALTH RESOURCES AND SERVICES
ADMINISTRATION,

       Defendants.


  UNOPPOSED MOTION OF AMERICAN HOSPITAL ASSOCIATION, NATIONAL
ASSOCIATION OF CHILDREN’S HOSPITALS, INC., D/B/A CHILDREN’S HOSPITAL
   ASSOCIATION, ASSOCIATION OF AMERICAN MEDICAL COLLEGES AND
AMERICA’S ESSENTIAL HOSPITALS TO FILE AMICI CURIAE BRIEF IN SUPPORT
                          OF DEFENDANTS

       The American Hospital Association, the National Association of Children’s Hospitals, Inc.,

d/b/a Children’s Hospital Association, the Association of American Medical Colleges, and

America’s Essential Hospitals (collectively, the “Proposed Amici”) respectfully move this Court,

pursuant to Local Civil Rule 7(o), for leave to file the attached brief in support of Defendants’

Cross-Motion for Summary Judgement (Exhibit A). Proposed Amici also submit a Proposed Order.

       Amici are four hospital associations whose members are hospitals that receive 340B

discounts. The unlawful rebate policy of Plaintiff Johnson & Johnson Health Care Systems Inc.

(“J&J”) will grievously harm those hospitals and the patients they care for. Amici therefore have a
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strong interest in preserving the Health Resources and Services Administration’s lawful decision

to reject that rebate policy, so that Amici’s members can continue to provide high-quality,

affordable medical care to their underserved patients and communities.

        “Courts have wide discretion in deciding whether to grant a third party leave to file an

amicus brief.” Matter of Search of Information Associated with [redacted]@mac.com that is

Stored at Premises Controlled by Apple, Inc., 13 F. Supp. 3d 157, 167 (D.D.C. 2014). “Generally,

a court may grant leave to appear as an amicus if the information offered is timely and useful,”

Ellsworth Assocs. v. United States, 917 F. Supp. 841, 846 (D.D.C. 1996) (quotation marks

omitted), or when Amici have “relevant expertise and a stated concern for the issues at stake in

[the] case,” District of Columbia v. Potomac Elec. Power Co., 826 F. Supp. 2d 227, 237 (D.D.C.

2011); see Ellsworth, 917 F. Supp. at 846 (a court should grant a motion to participate as amicus

curiae when the movant has a “special interest in th[e] litigation as well as a familiarity and

knowledge of the issues raised therein that could aid in the resolution of this case”); Northern

Mariana Islands v. United States, No. 08-1572, 2009 WL 596986, at *1 (D.D.C. Mar. 6, 2009)

(holding that “[t]he filing of an amicus brief should be permitted if it will assist the judge ‘by

presenting ideas, arguments, theories, insights, facts or data that are not to be found in the parties’

briefs”).

        Amici easily satisfy this standard. As the attached proposed brief demonstrates, Amici

provide the Court with specific insights, information, and legal arguments about the operation and

practical effects of the 340B Program and the consequences of J&J’s rebate policy. Amici further

demonstrate that if the Court were to grant J&J’s summary judgment motion, their member-

hospitals would be severely harmed, thereby underscoring their “concern for the issues at stake,”




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Potomac Elec., 826 F. Supp. 2d at 237, and “special interest” in the litigation, Ellsworth, 917 F.

Supp. at 846.

       Proposed Amici consulted with counsel for Plaintiffs and Defendants. Both parties take no

position on Amici’s Motion.

       Accordingly, Proposed Amici respectfully ask the Court to grant their motion for leave to

file an amici curiae brief.

February 28, 2025                                   Respectfully submitted,


                                                           /s/
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